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Exhibit A
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Wednesday, December 11, 2019
Deposition of RYAN GERMANY

*** ROUGH DRAFT ***

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counties pay for it. But because this was a new
process and I don't think they had budgeted for it, we
paid tor its

But it was handled the same way where
we prepared the notice, sent it to the counties. I'm
not sure actually if we mailed it out or if the
counties mailed it out. Normally the counties mail it
out. I'm not sure. But that notice has been sent
out. When it's sent out, it starts a 40-day clock for
getting it returned. And I believe the 40-day clock
is going to expire sometime next week.

Q. And when will these people who did not
respond to the notice -- when will they be moved from
inactive to canceled?

Bs I believe it's December 16th, but it's
a date around there.

MR. RUSSO: Don't speculate.
Q. (BY MR. CHANDLER:) I want to know

whether it's December, January, or next June.

A. I think it happens next week.

Q. Okay. How do you know if somebody
responds?

A. The counties will get that, and then

they will put it into ENET.

Q. If somebody in Fulton County is on this
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list, the postcard or the notice that went out will have
the prepaid postcard returned to the Fulton County

elections office?

A. Yes, sir.

Q. And then they would have to update it?
A. Yes, Sir.

Q. How long -- well, there's a hypothetical

question. How long do they have to do that. I guess it
depends on when somebody sends back to postcard, doesn't
1te

A. Correct. That's why we give 40 days
instead of 30 to kind of account for mailing time.

Q. If registrations are canceled, do you
know whether the Secretary of State's office has the
ability to reverse that and put them back on the roll?

A. Yes, we do have that ability.

Q. If somebody is canceled, for some reason
didn't pay attention to either of the postcards and goes
into vote, they can't vote that day; right?

A. Correct. It's assuming they're not
properly registered to vote.

O.« Well, assume they were properly
registered to vote but have not been canceled?

A. And haven't reregistered.

G.. They haven't reregistered and which is a
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period of time before the election; right?

A. You can register generally up to --
it's 30 days before the election.

Q. Okay. What I'm positing is a person who
didn't pay attention to the postcards says, okay, I'm
going to go vote today and goes in and finds that they
have been canceled, they can't vote that day, can they?

A. So that person would not be registered
to vote, so they could vote -- there's a process that
they could vote provisionally. If they're not
registered -- if they didn't reregister, then
generally, no, they would not be.

Ds So you're using the term "not registered"
to mean that when they have been removed from the roll,
they're no longer registered?

A. Correct. Yes, sir. That's right. Are

we at a point where we can --

Q. We absolutely can stop any time you --
A. Whenever is good for you.
©. Now is fine. Take out of your tether.

THE VIDEOGRAPHER: We are now going off
the record at 10:32 a.m.

(Said deposition was in recess

at 10:32 a.m. until 10:45 a.m.,

after which the following
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occurred: )

THE VIDEOGRAPHER: We are going back on
the record at 10:45 a.m.

Qs (BY MR. CHANDLER:) A couple of more
questions about Exhibit 105, the first page of that
December list.

Does Secretary of State use any of
methods to try to figure out whether people have moved
other than no contact?

A. Other than no contact and national
change of address and return mail?

O'. Yes,

A. So no. We have recently joined a
multistate group called ERIC.

0. ERIC.

A. And that uses, I think, generally the
same processes, but it adds some more data so we can
get kind of better data. But I think it's still
basically those three buckets.

Q. But that's effectively after 20 the 0
election, is it not?

A. Well, we hope to start -- we've already
joined ERIC, so we're working with them to get the
data that we need. You, one part of it is send ing

out voter registration applications to people that are
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here as indicated by driver services buzz not
registered. And that should take place in 2020.

Ds ERIC has a very good reputation for
accuracy about people moving, national change of
address, does it not?

A. I believe so.

Q. It has a number of states who are members
and blue states, red states?

A. Yes, sir.

Gy Okay. Now, on Exhibit 105, how long has
it been with no contact for the people on this list?

A. So these people have been inactive for
the past two general elections. So that would be 2018
and 2016. And then for some of them, the ones that
are in -- their inactive reason is no contact, they
would have had an even longer time of no contact. For
those people, I believe it goes back to the 2012
presidential election.

o. For just the no contacts? No contacts go

back to 2012?

A. Yes, sir.

Q. And the others are the 2016 and 2018
elections?

A. The way it works is -- the problem is

no contact is used two different ways. The first --
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under the column inactive reason, where it says no
contact, that refers to you got a confirmation card at
this point sometime, I guess, in 2015 saying hey, we
haven't had contact with you since -- at that point it
would have been before the 2012 November election.

So those people have not had any
contact since 2012. And then they were moved into
inactive in 2015 after not having a confirmation card.
And now they're going to be moved to canceled.

But for people -- like if you get
return mail -- if I get return mail, that happens
essentially right away. So I could have voted in 2014
and then a county gets return mail, they send a
confirmation card. If they don't receive it back,
then you're moved into inactive. And you still have
to sit in inactive status for two general election
cycles before you're subject to -- we call it NGE,
basically, you know, being canceled.

So I guess the answer is they're all --
this list is the people who have been inactive with no
contact for the last two general election cycles. But
their last contact -- it's certainly going to be
before that, but it could be a different date before
that, depending on their reason.

QO. That's very helpful. I'm still not
Oo OD CO 1 DBD OT BR WwW Bh LB

NON NM NM NM MY BP BP Pe Se Se a a YS 4
oF WN FP DO Oo oO 1 mH MH Ww Ww PB UL

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entirely clear. The people who are described on Exhibit
105 as no contact are people for whom -- or about whom
there has been no can't since before the 2012 election?

A. Since before the November 2012
election, yes, sir.

Q. And for people who are return mail, it
may be more recent no contact?

A. Correct. They'll all -- everyone on
this list has been inactive with no contact since
whatever -- whatever -- looking back over the past two
general election cycles, so pre-2016, I would think.

I can't give you an exact date.

Os Okay.

A. But the initial reason as to why they
went inactive could affect their last contact date.

Q. Do you essentially have two buckets, the
no contact and everybody else?

A. I would say it's three buckets. It's
the no contact, the return mail, and the national
change of address.

is Okay.

A. But then they're all kind of put into
this one bucket in this part of the process?

Q. Does the Secretary of State track the

people who are canceled and reregister?
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A. No, not as a matter of course.

oO) Could the Secretary of State do that?

A. I recall seeing news reports about that
and -- so to answer your question, yes.

Q. A voter who has been canceled is no

longer on the registration list, is the data about that
voter still in the Secretary of State's system?

A. Yes, sir. So, for instance, I moved
away from Georgia and when I moved back and
reregistered, it found me. So it has all my -- that
old data as well.

Ove For the people on Exhibit 105, you are
implementing HB 316 by sending a second notice; correct?

A. Yes, sir.

Q. And for the no contact people using the
five years rather than the three years?

A. No.

MR. RUSSO: John when you're referring to
you, you're referring to Secretary of State's office.
And when you refer to Secretary of State, are you
referring to the Secretary of State's office also?

MR. CHANDLER: I am trying to refer to
the Secretary of State's office every time unless I make
it clear that I'm not. And I don't mean you because I

don't think you're pushing those buttons. Go ahead.
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A. Could you repeat the question?

Q. Sure. For the people in the 6,000 pages
of Exhibit 105 -- we would have 6,000 pages except we
just copied the first page -- for those people you are
complying with HB 316 in the sense that you are sending

a second notice; correct?

A. Correct.
Q. Secretary of State's office?
A. Yes, sir, Secretary of State's office.

Well, really the counties, but it's kind of a dual
process.

Q. Except you aren't sure whether -- for the
second notice, whether those —--

A. I think for this time, it's the first
time we -- I know we took on more than we usually do,
but I couldn't speak specifically to --

Q. Paid for postage, but you're not sure who
actually mailed it?

A. Correct.

De For the no contact people, are you -- the
Secretary of State's office -- complying with HB 316
which changed the time period from three years to five
years?

A. So yes, we are complying with 316, but

we didn't see that as backward looking. So the people
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that are in -- that were in no contact that are in
inactive for no contact, we didn't go back and move
them out of inactive. Now, going forward, when we
move people into inactive for no contact, it will
be -- they'll have had five years of no contact
instead of three years.

Q. But the people on Exhibit 105 have had
three years of no contact or more?

A. Correct.

Q. Without asking for your legal advice, can
you tell me why you think that the five years doesn't
apply to these folks?

A. I think it has to do with kind of when
a statute is retroactive.

Q. Without telling me which setup -- your
asked about that, weren't you?

MR. RUSSO: I object to that. I don't
know how he can answer that without saying the content
but —--

MR. CHANDLER: Just a subject matter.

MR. RUSSO: By somebody? Is that what
you're asking or by somebody that's privilege window the
client?

MR. CHANDLER: It doesn't matter. You

can skip that one.
